Case 2:07-cr-02042-SAB   ECF No. 543   filed 07/14/08   PageID.2164 Page 1 of 6
Case 2:07-cr-02042-SAB   ECF No. 543   filed 07/14/08   PageID.2165 Page 2 of 6
Case 2:07-cr-02042-SAB   ECF No. 543   filed 07/14/08   PageID.2166 Page 3 of 6
Case 2:07-cr-02042-SAB   ECF No. 543   filed 07/14/08   PageID.2167 Page 4 of 6
Case 2:07-cr-02042-SAB   ECF No. 543   filed 07/14/08   PageID.2168 Page 5 of 6
Case 2:07-cr-02042-SAB   ECF No. 543   filed 07/14/08   PageID.2169 Page 6 of 6
